Case 1:14-ml-02570-RLY-TAB Document 7709-1 Filed 02/23/18 Page 1 of 1 PageID #:
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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
 ___________________________________________

 IN RE COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND                               Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                                MDL No. 2570
 ___________________________________________

                                    EXHIBIT A TO MOTION TO DISMISS
                                         PLAINTIFF SCHEDULE

                   Plaintiff              Cause Number      PPS Due      No PPS      Exhibit
                                                             Date        Letter      B Sub-
                                                                          Sent       Exhibit
                                                                          Date       Number
            1      Wendt, William           1:17-cv-01349   5/29/2017    1/24/2018         1
            2      Jatta, Jessica           1:17-cv-02393   8/14/2017    1/24/2018         2
            3      Blake, Tamera            1:17-cv-03377   10/23/2017   1/24/2018         3
            4      Lang, Jacqueline S.      1:17-cv-04142    2/9/2018    2/15/2018         4
            5      Hendricks, Nicholas      1:17-cv-06086   2/14/2018    1/24/2018         5
            6      Burt, Gwendolyn          1:18-cv-00078    2/9/2018    2/15/2018         6




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